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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              EVANSVILLE DIVISION

 UNITED STATES OF AMERICA,                )
                                          )
                     Plaintiff,           )
                                          )
              v.                          )       3:12-cr-025-RLY-WGH-07
                                          )
 RODERICK JACKSON,                        )
                                          )
                     Defendant.           )


                   ENTRY ON DEFENDANT’S MOTION TO STRIKE
                       SURPLUSAGE FROM INDICTMENT

       On August 30, 2012, the United States of America filed an indictment against

 Roderick Jackson, alleging, inter alia, that Jackson knowingly conspired with others,

 known and unknown to the Grand Jury, to possess with the intent to distribute and to

 distribute 1,000 kilograms or more of marijuana. 21 U.S.C. § 841(a)(1), (b)(1)(A)(vii).

 On December 10, 2012, Jackson filed a Motion to Strike paragraph 2 of the Manner and

 Means alleged in Count I of the Government’s indictment. For the reasons explained

 below, Jackson’s motion is GRANTED in part and DENIED in part.

       Jackson contends the language in paragraph 2 is unnecessary to any material

 element of any offense alleged in Count I, and it is highly inflammatory and prejudicial.

 (Defendant’s Motion at 1). Paragraph 2 reads as follows:

       Source individuals with whom [fellow co-defendants] were involved were
       members of or associated with the Gulf Cartel in Mexico. The “Gulf
       Cartel,” also known as the “Cartel Del Golfo,” and the “C.D.G.,” is an
       international criminal organization responsible for armed violent drug
       trafficking and other criminal activities in Mexico and the United States.

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        Criminal activities routinely engaged in by the “Gulf Cartel” include
        narcotics trafficking, kidnapping, murder, robbery, and extortion.

 Indictment, Manner and Means ¶ 2. The court has the discretion to strike surplusage

 from the indictment if it finds the language to be immaterial, irrelevant, or prejudicial.

 FED. R. CRIM. P. 7(d); United States v. Marshall, 985 F.2d 901, 905 (7th Cir. 1993)

 (citation omitted). Because this standard is an exacting one for the court, each sentence

 of paragraph 2 must be examined for prejudicial surplusage. See United States v.

 Chaverra-Cardona, 667 F.Supp. 608, 611 (N.D. Ill. 1987).

        After reviewing paragraph 2, the court finds that it must strike the words “armed

 violent” in the second sentence and the entire third sentence as surplusage. The words

 “armed violent” in the second sentence are not essential to the government’s charge, and

 the court finds them likely to be inflammatory to the jury. Furthermore, the third

 sentence describes kidnapping, murder, robbery, and extortion — crimes not in the

 indictment. These references are likely to be prejudicial to Jackson, since they could

 cause jurors to judge the facts more harshly than if they were presented with an

 indictment strictly discussing the alleged marijuana conspiracy. It is also likely that the

 Government will still be able to prove the elements of Count I without these allegations,

 and the Government is therefore not prejudiced by striking the above language. United

 States v. Peters, 435 F.3d 746, 752 (7th Cir. 2006).

        The remaining allegations in paragraph 2 are relevant generally to the overall

 conspiracy the Government hopes to properly prove at trial. (Plaintiff’s Response at 2).

 Therefore, these allegations cannot be considered prejudicial surplusage. See United


                                               2
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 States v. Climatemp, Inc., 482 F.Supp. 376, 391 (N.D. Ill. 1979). Even assuming that the

 remaining language in paragraph 2 is inherently prejudicial, any potential prejudice may

 be ameliorated by instructing the jury that the indictment is not evidence. Marshall, 985

 F.2d at 906; Chaverra-Cardona, 667 F.Supp. at 611. This instruction will ensure that the

 jury will determine the guilt or innocence of Jackson based on the evidence presented at

 trial and is more appropriate than striking additional information from the indictment. Id.

        For the aforementioned reasons, Jackson’s Motion to Strike (Docket # 174) is

 GRANTED in part and DENIED in part.



 SO ORDERED this 25th day of March 2013.




                                                   __________________________________
                                                  ________________________________
                                                   RICHARD L.
                                                  RICHARD      L. YOUNG,
                                                                  YOUNG,CHIEFCHIEFJUDGE
                                                                                   JUDGE
                                                   United States District Court
                                                  United States District Court
                                                   Southern District
                                                  Southern  District of
                                                                      ofIndiana
                                                                         Indiana



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